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                        EXHIBIT 01
                               URGENT: Communication planned ahead
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Subject: URGENT: Communication planned ahead
From: Arnaud Paris <arnaud@skyvr.com>
Date: 14/05/2024 19:56
To: Heidi Paris <heidimparis@gmail.com>

Heidi, I asked you by email repeatedly to set up with me ahead proper times for me to speak
with the girls over this week on video calls directly without any supervision from your part
and at decent hours French time.
I'm sad to see that you tried again to call me in the middle of the night or extremely early
in the morning without notice while you knew I would be asleep. This it shows your clear
continued efforts at trying to prevent any communication between me and the girl and also
parental alienation.
I know that you're telling the girls, "Let's call your father", obviously you're not telling
them that it's the middle of the night in France and that I'm asleep unable to answer, and
then you tell them, "oh look your father doesn't want to talk to you.,,"
This type of behavior isn't proper parenting and you're clearly trying to hurt and sever
entirely my relationship to the girls, So please re-establish immediately proper communication
between me and the girls by discussing with me these calls ahead of time, and you'll need to
make them happen as video call during which the girls need to be able to speak to me directly
each at a time on these video call and unsupervised by you or anyone else.
Thanks,
Arnaud




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